                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )      MATTICE/CARTER
                                              )
        v.                                    )      CASE NO. 1:09-CR-98
                                              )
 RONALD BATTS                                 )


                                            ORDER

        On October 27, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Ronald Batts’ (“Defendant”)

 plea of guilty to Counts One and Thirty-One of the Indictment in exchange for the undertakings

 made by the government in the written plea agreement; (b) the Court adjudicate Defendant guilty

 of the charges set forth in Counts One and Thirty-One of the Indictment; (c) that a decision on

 whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall

 remain in custody pending sentencing in this matter (Doc. 280). Neither party filed an objection

 within the given ten days. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

 as follows:

        (1) Defendant’s plea of guilty to Counts One and Thirty-One of the Indictment, in

 exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One and

 Thirty-One of the Indictment;




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       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

 January 14, 2010, at 9:00 am.

       SO ORDERED.

       ENTER:

                                                      /s/Harry S. Mattice, Jr.
                                                      HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




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